                                            Case 5:20-cv-03642-EJD Document 277 Filed 11/09/22 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6                                           SAN JOSE DIVISION

                                   7
                                           IN RE TELESCOPES ANTITRUST                        ORDER RE OCTOBER 10, 2022
                                   8       LITIGATION                                        DISCOVERY DISPUTE RE
                                                                                             DEFENDANTS' PRODUCTION OF
                                   9                                                         TRANSACTIONAL DATA
                                  10                                                         Case No. 20-cv-03639-EJD (VKD)
                                                                                             Re: Dkt. No. 277
                                  11
                                                                                             Case No. 20-cv-03642-EJD (VKD)
                                  12
Northern District of California




                                                                                             Re: Dkt. No. 260
 United States District Court




                                  13

                                  14            Direct Purchaser Plaintiffs (“DPPs”) and Indirect Purchaser Plaintiffs (“IPPs”)
                                  15   (collectively “Plaintiffs”) and Defendants ask the Court to resolve their dispute concerning
                                  16   Defendants’ production of transactional data. Dkt. No. 277.1 The Court held a hearing on the
                                  17   matter on November 8, 2022. Dkt. No. 292.
                                  18            For the reasons explained more fully at the hearing, the Court orders as follows:
                                  19            1. Defendants must produce the Celestron transactional data, for the relevant period,
                                  20   without filters by November 30, 2022.
                                  21            2. Defendants shall provide the following information informally, but in writing, to
                                  22   Plaintiffs solely for the purpose of facilitating the production of transactional data by November
                                  23   30, 2022. For each defendant who has appeared in the case:
                                  24                a. the name of any database programs or applications used to manage or store sales
                                  25                    data in the ordinary course of business; and
                                  26                b. whether Defendants believe that the transactional data available for production or
                                  27

                                  28   1
                                           For convenience, the Court refers only to the docket in Case No. 20-3639.
                                          Case 5:20-cv-03642-EJD Document 277 Filed 11/09/22 Page 2 of 2




                                   1                  produced to date includes or does not include each of the 19 categories of

                                   2                  information described in Plaintiffs’ RFP 96;

                                   3              c. the formats in which data may feasibly be exported from any database or system in

                                   4                  Defendants’ possession, custody, or control that contains sales data.

                                   5          3. Defendants shall provide to Plaintiffs’ counsel a representative sample of the “physical

                                   6   bound records” for Suzhou Synta that Defendants say are stored in a warehouse in China so that

                                   7   Plaintiffs may determine whether the records contain responsive information (Defendants contend

                                   8   they do not) and, if so, the burden involved in producing such responsive information. Defendants

                                   9   shall provide the sample no later than November 30, 2022. If Plaintiffs wish to obtain copies of

                                  10   some or all of these records, they shall so advise Defendants by December 16, 2022, and Plaintiffs

                                  11   shall at that time make a proposal for a cost-effective means for production. The proposal should

                                  12   take into account the responsiveness and importance of the information, the relative burdens on
Northern District of California
 United States District Court




                                  13   Plaintiffs and Defendants of producing the materials, and whether the burdens of production are

                                  14   proportional to the needs of the case. See Fed. R. Civ. P. 26(b)(1). If the parties cannot agree on

                                  15   production of these materials and allocation of the burden of production, and if one side or the

                                  16   other decides to proceed with production of the materials Plaintiffs demand, the Court will

                                  17   entertain a motion for cost-shifting or other relief if any party believes such relief is warranted.

                                  18          4. If Plaintiffs wish to obtain additional information about Defendants’ transactional data,

                                  19   they may serve a notice for a Rule 30(b)(6) deposition on Defendants. Defendants shall make a

                                  20   witness or witnesses available for such deposition within 30 days of the notice, unless the parties

                                  21   agree otherwise.

                                  22          IT IS SO ORDERED.

                                  23   Dated: November 9, 2022

                                  24

                                  25
                                                                                                      VIRGINIA K. DEMARCHI
                                  26                                                                  United States Magistrate Judge
                                  27

                                  28
                                                                                          2
